        Case 1:22-cr-00019-RCL Document 81-1 Filed 09/26/23 Page 1 of 5




                                                      U.S. Department of Justice

                                                      Matthew M. Graves
                                                      United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530

                                                    September 26, 2023

       Delivered via email: melissa@protectingmen.com

Melissa Isaak
2815-B Zelda Road
Montgomery, AL 36106

       Re:    United States v. Matthew Purdy, Gregory Purdy, Jr. and Robert Turner
              Case No. 1:22-CR-19

Dear Ms. Isaak:

        Thank you for talking with me yesterday regarding this matter. I understand that you
have already received the case specific discovery that was provided to Defendants’ counsel in
this case. At this time, I am producing additional case-specific discovery in this case. This
additional discovery contains additional videos of Defendants and an additional serial report
from the case agent. This information is in addition to the case specific discovery already
provided in this case to prior counsel for each defendant. This additional discovery is being
provided to you via a USAfx box, entitled “US v Gregory Purdy et al, defense counsel”.

       The additional discovery being provided to contains the following materials:

       1. A 302 report by FBI SA Nathaniel Kullmann re: open source resources;
       2. Copies of 37 files containing open source videos (list attached 1a); and
       3. An external trace report of open source videos regarding actions by
          defendants at the U.S. Capitol on January 6, 2021;
       4. Five additional open source video files showing defendants or others’ actions
          at the U.S. Capitol at a location where defendants were observed (list attached
          1b).
         Case 1:22-cr-00019-RCL Document 81-1 Filed 09/26/23 Page 2 of 5




        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government will facilitate access to these
materials through two databases: evidence.com and Relativity. If you do not have access to
these databases, let me know. In the meantime, please let me know if there are any categories of
information that you believe are particularly relevant to your client.

        The discovery is being provided via a USAfx box. Please contact me if you have any
issues accessing the information, and to confer regarding pretrial discovery as provided in Fed.
R. Crim. P. 16.1.

       This material is subject to the terms of the Protective Order issued in this case.

        In addition, I have provided you access to Global Discovery. Please note that much of
this Global Discovery is being provided pursuant to a Protective Order that has been entered in
this case, ECF No. 21. I have attached to this letter a copy of the Protective Order. In addition, I
have attached a comprehensive summary of the Government’s Global Discovery Productions,
numbers 1 through 29.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.




                                                 2
        Case 1:22-cr-00019-RCL Document 81-1 Filed 09/26/23 Page 3 of 5




        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                    Sincerely,

                                                    /s/ Lynnett M. Wagner
                                                    Lynnett M. Wagner
                                                    Assistant United States Attorney
Attachments (3)




                                                3
        Case 1:22-cr-00019-RCL Document 81-1 Filed 09/26/23 Page 4 of 5




Attachment 1a. Open Source videos from external trace report




                                              4
        Case 1:22-cr-00019-RCL Document 81-1 Filed 09/26/23 Page 5 of 5




Attachment 1b. Additional Open Source videos




                                               5
